U.S_ D|STR|CT COURT
EASTERN D|STR!CT OF ARKANSAS

FSLED

IN THE UNITED STATES DISTRICT COURT NOV _ 2 2018
EASTERN DISTRICT OF ARKANSAS

   

lN OPEN COURT
JAN|ES W. N|CCORMAC CL

BY: _
`FP 1_":’ V`-i_'
Case No. 4:18-]\3-00§2|4 ]TVL_
FILED UNDER SEAL

UNITED STATES OF AMERICA

VS.

HARoLD L. MoODY, ]R.
MOTION TO SEAL COMPLAINT AND ARREST WARRANT
The United States requests that the above-styled Complaint and arrest Warrant be
sealed until the defend ant is in Custody or has been released pending tlrial. This request
is made in consideration of the safety of the agents involved in the execution of the

arrest Warrant in this case.

CODY HILAN
Un ?d;/r State

By:

 

I<RISTIN H. BRYANT__' (2009156)
Assistant U. S. Attorney

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ORDER
Pursuant to the above request, the complaint and arrest Warrant in this matter

shall be sealed until all the defendant is in custody or has been released pending trial.

DATE

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] LPE

United States Magistrate ]udge

